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  4
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  5
  6
      Attorneys for Defendants, Ocwen Loan Servicing, LLC
      and Mortgage Electronic Registration Systems, Inc.
  7
  8                     UNITED STATES BANKRUPTCY COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10
 11   In re: STEVEN MARK ROSENBERG, Bankruptcy Case No. 1:17-bk-11748-VK
 12
          Debtor.                   Chapter 7

 13                                           Adversary Case No. 1:17-ap-01096-VK
 14   STEVEN MARK ROSENBERG,
                                      AMENDED NOTICE BY
 15
                         Plaintiff,   DEFENDANTS OCWEN LOAN
 16   v.                              SERVICING, LLC
 17
                                      AND MORTGAGE ELECTRONIC
      ALLIANCE BANCORP, INC (Estate), REGISTRATION SYSTEMS, INC.
 18   MORTGAGE ELECTRONIC             OF JOINDER AND JOINDER IN
 19   REGISTRATION SYSTEMS, INC.,     THE MOTION FOR SANCTIONS
      OCWEN LOAN SERVICING, ONE       PURSUANT TO FEDERAL RULES
 20                                   OF CIVIL PROCEDURE, RULE 11,
      WEST BANK, DEUTSCHE BANK
 21   NATIONAL TRUST COMPANY, AS AND FEDERAL RULES OF
      TRUSTEE FOR ALLIANCE            BANKRUPTCY PROCEDURE,
 22
      BANCORP MORTGAGE BACKED         RULE 9011 AGAINST PLAINTIFF
 23   PASS-THROUGH CERTIFICATE
 24   SERIES 2007-OA1 AND DOES 1      Hearing:
      THROUGH 25, INCLUSIVE,          Date: December 5, 2018
 25                                   Time: 2:30 p.m.
 26                   Defendants.     Crtrm: 301
 27
 28
                                             1
               NOTICE BY DEFENDANTS OCWEN LOAN SERVICING, LLC
      AND MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. OF JOINDER AND
            JOINDER IN THE MOTION FOR SANCTIONS AGAINST PLAINTIFF
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  1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2
            PLEASE TAKE NOTICE that Defendants, Ocwen Loan Servicing, LLC

  3
      and Mortgage Electronic Registration Systems, Inc. (“Defendants”) herby join in

  4
      the Notice and Motion for Sanctions pursuant to Federal Rules of Civil Procedure,

  5
      Rule 11, and Federal Rules of Bankruptcy Procedure, Rule 9011 against Plaintiff,

  6
      Steven Mark Rosenberg (“Plaintiff”) filed by Defendant Deutsche Bank National

  7
      Trust Company, as Trustee for Alliance Bancorp Mortgage Backed Pass-Through

  8
      Certificate Series 2007-OA1 (“Deutsche Bank”) on September 7, 2018 and each of

  9
      the arguments and authorities found therein. (See, Dkt. No. 61). Defendants also

 10
      join in the Request for Judicial Notice and the Appendix of Exhibits filed in

 11
      support of the Motion for Sanctions. (Dkt. No. 62).

 12
            Defendants do not seek monetary sanctions against Plaintiff. However,

 13
      Defendants do seek a non-monetary order against Plaintiff in the form of the

 14
      striking of Rosenberg’s frivolous notice of motion and motion to alter or amend

 15
      judgment.

 16
            By way of his adversary proceeding, Plaintiff sought damages and

 17
      declaratory relief by challenging the recorded assignments of Deed of Trust,

 18
      alleging violations of FRBP 3001 for failure to file a proof of claim and alleging

 19
      fraud by concealing a broken chain of assignments. (Dkt. No. 1). The allegations

 20
      against Defendants were identical to the allegations asserted against Deutsche

 21
      Bank. Id. Defendants filed a Motion for Judgment on the Pleadings (“MJOP”)(Dkt.

 22
      Nos. 15-19) which Deutsche Bank joined. (Dkt. No. 26). This court granted the

 23
      MJOP and entered a judgment in favor of Defendants and Deutsche Bank on June

 24
      7, 2018. (Dkt. No. 56).

 25
            Plaintiff then filed his Motion to Alter or Amend the Judgment (Dkt. No. 58)

 26
      which is frivolous, without factual or legal merit, and an improper use of a Rule

 27
      59(e) motion as set forth in the instant Motion for Sanctions (Dkt Nos. 61-62). In

 28
      short, Plaintiff’s Motion to Alter or Amend the Judgment is an improper use of a
                                                2
            AMENDED NOTICE BY DEFENDANTS OCWEN LOAN SERVICING, LLC
       AND MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. OF JOINDER AND
             JOINDER IN THE MOTION FOR SANCTIONS AGAINST PLAINTIFF
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  1   Rule 59(e) motion because there is no new evidence; there is no new law; and,
  2   nothing in the motion remotely establishes that the court’s decision was a product
  3   of “clear error” or “manifestly unjust.” Id. Deutsche Bank’s Motion for Sanctions
  4   correctly sets forth the applicable law and arguments. The law cited and arguments
  5   made by Deutsche Bank are fully applicable to Defendants. Accordingly,
  6   Defendants incorporate the Motion for Sanctions filed by Deutsche Bank in its
  7   entirety herein by reference.
  8         For the reasons stated above and for all the reasons stated in Deutsche
  9   Bank’s Motion for Sanctions, Defendants respectfully request non-monetary
 10   sanctions in the form of the striking of Plaintiff’s frivolous Notice of Motion and
 11   Motion to Alter or Amend Judgment.
 12
 13                                          Respectfully submitted,
 14                                          WRIGHT, FINLAY & ZAK, LLP
 15
 16   Dated: September 14, 2018       By:    /s/ Nicole S. Dunn
                                             T. Robert Finlay, Esq.
 17                                          Nicole S. Dunn, Esq.
 18                                          Attorneys for Defendants, Ocwen Loan
                                             Servicing, LLC and Mortgage Electronic
 19
                                             Registration Systems, Inc.
 20
 21
 22
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 24
 25
 26
 27
 28
                                                3
            AMENDED NOTICE BY DEFENDANTS OCWEN LOAN SERVICING, LLC
       AND MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. OF JOINDER AND
             JOINDER IN THE MOTION FOR SANCTIONS AGAINST PLAINTIFF
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 1                                     PROOF OF SERVICE

 2         I, Jovete Elguira, declare as follows:

 3
            I am employed in the County of Orange, State of California. I am over the age of
     eighteen (18) and not a party to the within action. My business address is 4665
 4   MacArthur Court, Suite 200, Newport Beach, California 92660. I am readily familiar
 5
     with the practices of Wright, Finlay & Zak, LLP, for collection and processing of
     correspondence for mailing with the United States Postal Service. Such correspondence is
 6   deposited with the United States Postal Service the same day in the ordinary course of
 7   business. I am aware that on motion of party served, service is presumed invalid if postal
     cancellation date or postage meter date is more than one day after date of deposit for
 8   mailing in affidavit.
 9          On September 14, 2018,1 served the within AMENDED NOTICE BY
10
     DEFENDANTS OCWEN LOAN SERVICING, LLC AND MORTGAGE
     ELECTRONIC REGISTRATION SYSTEMS, INC. OF JOINDER AND JOINDER
11   IN THE MOTION FOR SANCTIONS PURSUANT TO FEDERAL RULES OF
12
     CIVIL PROCEDURE, RULE 11, AND FEDERAL RULES OF BANKRUPTCY
     PROCEDURE, RULE 9011 AGAINST PLAINTIFF on all interested parties in this
13   action as follows:
14   [X] by placing [ ] the original [X] a true copy thereof enclosed in sealed envelope(s)
15
           addressed as follows:

16
           [SEE ATTACHED SERVICE LIST]

17   [X]    (BY MAIL SERVICE) I placed such envelope(s) for collection to be mailed on thi
18
           date following ordinary business practices.
     [X]   (CM/ECF Electronic Filing) I caused the above document(s) to be transmitted to th
19
           office(s) of the addressee(s) listed by electronic mail at the e-mail address(es) set
20         forth above pursuant to Fed.R.Civ.P.5(b)(2)(E). "A Notice of Electronic Filing
21
           (NEF) is generated automatically by the ECF system upon completion of an
           electronic filing. The NEF, when e-mailed to the e-mail address of record in the
22         case, shall constitute the proof of service as required by Fed.R.Civ.P.5(b)(2)(E). A
23
           copy of the NEF shall be attached to any document served in the traditional manner
           upon any party appearing pro se."
24
     [X]   (Federal) I declare under penalty of perjury under the laws of the United States of
25         America that the foregoing is true and correct.
26         Executed on September 14, 2018, at Newport Beach, California.
27

28
                                                    1
                                       PROOF OF SERVICE
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 1
     ATTACHED SERVICE LIST

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19
     United States Trustee (SV)
20   915 Wilshire Blvd., Suite 1850
21   Los Angeles, CA 90017
     (213) 894-6811
22   U.S. Trustee
23
     Judge Victoria S. Kaufman
24
     U.S. Bankruptcy Court — Central District
25   (San Fernando Valley)
     21041 Burbank Blvd.
26   Woodland Hills, CA 91367-6603
27

28
                                                2
                                      PROOF OF SERVICE
